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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                      EUGENE DIVISION


UNITED STATES OF AMERICA                              6:20-cr-206-MC

                 v.                                   MISDEMEANOR INFORMATION

VALLEY CREST FOODS, INC.                              33 U.S.C. § 1319(c)(1)(A) and (B)

                 Defendant.


                      THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                                   (33 U.S.C. § 1319(c)(1)(A))

       On or about December 5, 2017, in the District of Oregon, defendant Valley Crest Foods,

Inc., having previously been warned about discharges into the publically owned treatment works,

to wit: the Myrtle Point Water Treatment Plant, negligently discharged a slug of milk into the

publically owned treatment works. In doing so, the defendant caused the publically owned

treatment works to violate the E. coli limit of its National Pollutant Discharge Elimination

System permit;

       In violation of Title 33, United States Code, Section 1319(c)(1)(A).




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                                          COUNT 2
                                  (33 U.S.C. § 1319(c)(1)(B))

       On or about January 21, 2018, in the District of Oregon, defendant Valley Crest Foods,

Inc., having previously been warned about discharges into the publically owned treatment works,

to wit: the Myrtle Point Water Treatment Plant, negligently discharged wastewater having a pH

of more than 12.5 into a publicly owned treatment works, which defendant knew or reasonably

should have known could cause property damage;

       In violation of Title 33, United States Code, Section 1319(c)(1)(B).

                                          COUNT 3
                                  (33 U.S.C. § 1319(c)(1)(B))

       On or about March 16, 2018, in the District of Oregon, defendant Valley Crest Foods,

Inc., having previously been warned about discharges into the publically owned treatment works,

to wit: the Myrtle Point Water Treatment Plant, negligently discharged wastewater having a pH

of more than 12.5 into a publicly owned treatment works, which defendant knew or reasonably

should have known could cause property damage;

       In violation of Title 33, United States Code, Section 1319(c)(1)(B).

                                          COUNT 4
                                  (33 U.S.C. § 1319(c)(1)(A))

       On or about April 4, 2018, in the District of Oregon, defendant Valley Crest Foods, Inc.,

having previously been warned about discharges into the publically owned treatment works, to

wit: the Myrtle Point Water Treatment Plant, negligently discharged wastewater having a pH of

less than 5 into a publicly owned treatment works. In doing so, the defendant caused the

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publically owned treatment works to violate the applicable federal pretreatment standard, namely

that found at 40 C.F.R. § 403.5(b)(2);

       In violation of Title 33, United States Code, Section 1319(c)(1)(A).

       Dated: July 6, 2020

                                                    Respectfully submitted,

                                                    BILLY J. WILLIAMS
                                                    United States Attorney

                                                    s/Pamela Paaso____
                                                    PAMELA PAASO
                                                    Assistant United States Attorney




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